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                       Kyle Jeffery Schwark vs.

                      Sheriff Fred Wegener, et al.




                    Deposition of Susan Canterbury

                           February 07, 2017




                                                                        Exhibit G
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·1· · · · · · · · ·MR. ZIPORIN:· To possibly clean up the     ·1· · · · · · Q.· ·But Dr. Fitting told you she is not
·2· ·record.                                                  ·2· ·qualified to handle Suboxone issues?
·3· · · · · · · · ·MR. LANE:· Yeah.                           ·3· · · · · · A.· ·Correct.
·4· · · · · · · · ·MR. ZIPORIN:· You're asking general        ·4· · · · · · (Mr. McNulty joined the proceedings.)
·5· ·questions about what is the protocol in terms of         ·5· · · · · · Q.· ·But if doctor --
·6· ·weaning off the Xanax with the Librium, but she never    ·6· · · · · · · · ·MR. LANE:· This is Andy McNulty.· He is
·7· ·testified that's what occurred with Mr. Schwark --       ·7· ·co-counsel in this case.· Can we get you to move your
·8· · · · · · · · ·MR. LANE:· Right.                          ·8· ·jacket there?
·9· · · · · · · · ·MR. ZIPORIN:· -- in the November stay.     ·9· · · · · · · · ·MR. MICHALEK:· Yep.· I'm doing that
10· · · · · · · · ·MR. LANE:· Right.· I'm just asking her     10· ·right now.
11· ·what her understanding of the overall picture -- the     11· · · · · · · · ·MR. MCNULTY:· Thanks.
12· ·game plan was at this point, and then we are going to    12· · · · · · Q.· ·(By Mr. Lane)· Clearly a doctor on the
13· ·get into what actually happened.                         13· ·outside world had prescribed Suboxone apparently for
14· · · · · · A.· ·We didn't really get into the taper.       14· ·some reason, right?
15· ·We didn't change the Xanax.· I mean, I took him his      15· · · · · · · · ·MR. MICHALEK:· Object to form and
16· ·own Xanax, and I packed one for in the morning.          16· ·foundation.
17· · · · · · · · ·And then that's when Jeri and Cathlene     17· · · · · · A.· ·I guess that could be an assumption.
18· ·were there the next day and, you know, we never had      18· · · · · · Q.· ·(By Mr. Lane)· Well, isn't that what
19· ·time in that visit to -- in that particular -- I         19· ·your assumption was?
20· ·mean, we never got very far.                             20· · · · · · A.· ·People get all kinds of things from
21· · · · · · Q.· ·(By Mr. Lane)· Okay.· Well, we'll talk     21· ·doctors.
22· ·about that in a minute.· I'm just trying to              22· · · · · · Q.· ·I know they do.
23· ·understand what was the -- what the game plan was.       23· · · · · · · · ·But a doctor had said Kyle Schwark
24· ·And the game plan was get him off the Xanax, put him     24· ·needs Suboxone; here's a prescription for it, right?
25· ·on Librium, wean him off of Librium, right?              25· · · · · · A.· ·Okay.· If he's -- okay.· Antabuse, you
                                                    Page 22                                                       Page 24
·1· · · · · · A.· ·Right.                                     ·1· ·have somebody in jail and a doctor said you take
·2· · · · · · Q.· ·What was the game plan for Suboxone?       ·2· ·Antabuse.· Well, if you're not drinking, you don't
·3· ·What was the purpose of Suboxone?                        ·3· ·need Antabuse, right?
·4· · · · · · A.· ·If it's to reduce cravings, Dr. Fitting    ·4· · · · · · Q.· ·Seems -- I'm not a doctor, but that
·5· ·said we can't give it here.· I don't know.· I can't      ·5· ·makes sense to me.
·6· ·answer that question.                                    ·6· · · · · · A.· ·So I think Suboxone is real similar in
·7· · · · · · Q.· ·Well, did Dr. Fitting say no more          ·7· ·that if you're not accessing drugs, then you don't
·8· ·Suboxone?                                                ·8· ·need something that's going to reduce your craving
·9· · · · · · A.· ·Not at that moment.                        ·9· ·for that drug.
10· · · · · · Q.· ·At some point --                           10· · · · · · Q.· ·Okay.· I don't -- like I said, I'm not
11· · · · · · A.· ·She said -- at some point she said --      11· ·a doctor, so --
12· ·she said she is not certified to manage Suboxone.        12· · · · · · A.· ·Yeah.· Well, you know, I'm not either.
13· · · · · · Q.· ·Okay.· That is a new one to me because     13· · · · · · Q.· ·I get it.· I know so we are both kind
14· ·I'm not a doctor or a nurse or medical person.           14· ·of shooting in the dark a little bit.· So I'm just
15· · · · · · A.· ·You have to have a special                 15· ·simply saying there must be something more
16· ·certification.                                           16· ·complicated about Suboxone than I can think of
17· · · · · · Q.· ·Really?                                    17· ·because Dr. Fitting is not qualified to monitor it,
18· · · · · · A.· ·Uh-huh.                                    18· ·so apparently it needs monitoring and --
19· · · · · · Q.· ·By some medical board or something         19· · · · · · A.· ·I don't know what it means.
20· ·or --                                                    20· · · · · · · · ·MR. MICHALEK:· Object to foundation.
21· · · · · · · · ·MR. MICHALEK:· Object to foundation.       21· · · · · · A.· ·I have no idea.
22· · · · · · Q.· ·(By Mr. Lane)· -- do you know?             22· · · · · · · · ·MR. ZIPORIN:· Let him finish his
23· · · · · · A.· ·No.                                        23· ·question before you answer, okay?· It will make her
24· · · · · · Q.· ·Okay.                                      24· ·job a lot easier.
25· · · · · · A.· ·I don't know who determines that.          25· · · · · · · · ·MR. LANE:· Okay.

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·1· · · · · · Q.· ·Okay.· In any event.· You see Kyle         ·1· · · · · · A.· ·Correct.
·2· ·Schwark having what you believe to be a psychotic        ·2· · · · · · Q.· ·So he is back on Xanax?
·3· ·episode.· So what did you do?                            ·3· · · · · · A.· ·Yeah.
·4· · · · · · · · ·MR. ZIPORIN:· We are going to take a       ·4· · · · · · Q.· ·And he is being taken off the Suboxone,
·5· ·break after this answer.                                 ·5· ·right?
·6· · · · · · A.· ·I just kept taking him the Xanax.          ·6· · · · · · A.· ·Yeah.
·7· · · · · · Q.· ·(By Mr. Lane)· Okay.                       ·7· · · · · · Q.· ·Okay.· Now, Kyle was at that jail for
·8· · · · · · A.· ·I was hoping that -- and then -- oh, I     ·8· ·about 20 days before he got shipped off for the
·9· ·did -- what was the date of that?· At some point, I      ·9· ·second time to Denver Health, right?
10· ·did contact the psychiatric provider -- February, and    10· · · · · · A.· ·Right.
11· ·it's in the chart there somewhere.· And it would help    11· · · · · · Q.· ·Okay.· Now, Kyle tells me that when he
12· ·to have that in front of me.                             12· ·came back to the jail on the second go-round, he was
13· · · · · · Q.· ·Well, you know, I don't know if it's       13· ·immediately put in isolation down in the basement.
14· ·here.· We have already got it in the exhibit books.      14· · · · · · A.· ·Basement, no.
15· ·You can thumb through that during the break if you       15· · · · · · Q.· ·Isn't that where it was, in the
16· ·want to take --                                          16· ·basement?
17· · · · · · · · ·MR. ZIPORIN:· I think there's emails       17· · · · · · · · ·MR. SCHWARK:· Reception.· Just a
18· ·right in front of you there.                             18· ·dungeon is all I can picture.
19· · · · · · · · ·MR. LANE:· Okay.· That's what I was        19· · · · · · A.· ·No.· It's the segregation cell.
20· ·going to -- you want to keep going or do you want to     20· · · · · · Q.· ·(By Mr. Lane)· Okay.· But he came in
21· ·take a break?                                            21· ·off the streets, and that's where his first and only
22· · · · · · · · ·MR. ZIPORIN:· Let's take a break.          22· ·stop was.· Do you recall that?
23· · · · · · (Recess taken from 9:49 a.m. to 10:07 a.m.)     23· · · · · · A.· ·Well, he was in holding and booking
24· · · · · · · · ·MR. ZIPORIN:· The deponent just wants      24· ·until he was booked in.
25· ·to kind of just amend an answer related to the           25· · · · · · Q.· ·Right.· And then he went straight to
                                                    Page 54                                                       Page 56
·1· ·prescriptions that came in -- that were changed by       ·1· ·his isolation cell?
·2· ·Dr. Fitting when he came back on February 25, 2014,      ·2· · · · · · A.· ·Correct.· And I can't recall just why.
·3· ·so go ahead.                                             ·3· ·I can't remember.
·4· · · · · · · · ·THE DEPONENT:· Yeah.· I went to her        ·4· · · · · · Q.· ·Okay.
·5· ·office on the 26th and I -- she DC'd the Suboxone.       ·5· · · · · · A.· ·I can't remember.
·6· · · · · · Q.· ·(By Mr. Lane)· She what?                   ·6· · · · · · Q.· ·Okay.· And he says to me that he didn't
·7· · · · · · A.· ·Dr. Fitting -- oh, I'm sorry.· It's        ·7· ·really start going crazy for several days.
·8· ·medical language.· Discontinued the Suboxone.· And he    ·8· · · · · · A.· ·I can't say why he was in psych. I
·9· ·apparently came in with -- I'm not -- a script for       ·9· ·can't remember that.
10· ·Librium.· At any rate, she discontinued the Librium      10· · · · · · Q.· ·Okay.· When we last spoke, I kind of --
11· ·and put him back on his own -- on Xanax.· Gosh. I        11· ·it sort of sounded like he was immediately pretty
12· ·know.· It's written right there.                         12· ·crazy when he first came back on that second
13· · · · · · Q.· ·Okay.· What exhibit are you refreshing     13· ·go-round.
14· ·your memory with?                                        14· · · · · · A.· ·I can't remember at what point he
15· · · · · · · · ·MR. ZIPORIN:· Exhibit 27.                  15· ·became crazy.
16· · · · · · Q.· ·(By Mr. Lane)· And during the break        16· · · · · · Q.· ·I mean, Kyle tells me that what
17· ·presumably you looked at Exhibit 27, and that            17· ·happened is he was being weaned way too quickly from
18· ·refreshed your recollection about what happened?         18· ·the Xanax, and the Suboxone was cut off completely.
19· · · · · · A.· ·Yeah.· I have a perfect picture in my      19· ·And over a course of about, what, ten days?
20· ·mind of that script, but I had the, you know, one        20· · · · · · · · ·MR. SCHWARK:· (Nodding head.)
21· ·benzo flipped for the other --                           21· · · · · · Q.· ·(By Mr. Lane)· He just decompensated
22· · · · · · Q.· ·Okay.                                      22· ·and lost his mind.
23· · · · · · A.· ·-- is all.                                 23· · · · · · · · ·I mean, does that sound like
24· · · · · · Q.· ·So this is on the second time he was in    24· ·approximately your recollection of what was
25· ·the jail, right?                                         25· ·happening?


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